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         IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF GEORGIA
                     GAINESVILLE DIVISION

 FAIR FIGHT, INC., SCOTT BERSON,
 JOCELYN HEREDIA, and JANE
 DOE,
                                               Civil Action No.
        Plaintiffs,                            2:20-cv-00302-SCJ

        v.

 TRUE THE VOTE, INC., CATHERINE
 ENGELBRECHT, DEREK
 SOMERVILLE, MARK DAVIS,
 MARK WILLIAMS, RON JOHNSON,
 JAMES COOPER, and JOHN DOES 1-
 10,

        Defendants.


                      PLAINTIFFS’ NOTICE OF ERRATA

      Plaintiffs submit this Notice of Errata to correct certain citations to deposition

transcripts in the Statement of Material Facts submitted with their Motion for

Summary Judgment. See ECF 156-2. In these instances, Plaintiffs’ Statement of

Material Facts mistakenly cited to non-final deposition transcripts, which resulted in

an approximately five-page discrepancy between the provided citation and the

correct citation. Plaintiffs also seek to correct missing citations in paragraphs 72 and

80 of their Statement of Material Facts. The following corrections have been made:
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Paragraph             Original Citation                Corrected Citation

     77       Somerville II Tr. 88:17-89:13      Somerville II Tr. 94:11-95:2

     85       OPSEC/Phillips Tr. 136:14-16       OPSEC/Phillips Tr. 141:17-19

     96       OPSEC/Phillips Tr. 140:14-22       OPSEC/Phillips Tr. 146:2-5

     97       OPSEC/Phillips Tr. 120:22-121:2 OPSEC/Phillips Tr. 125:12-22

    105       OPSEC/Phillips Tr. 120:14-20       OPSEC/Phillips Tr. 125:12-18

    107       OPSEC/Phillips Tr. 126:2-11        OPSEC/Phillips Tr. 131:7-12

    107       OPSEC/Phillips 126:12-15           OPSEC/Phillips Tr. 131:13-16

    108       OPSEC/Phillips Tr. 120:14-21       OPSEC/Phillips Tr. 125:12-19


Additionally, two citations were incomplete and have been corrected as follows:

 Paragraph                            Corrected Citation

      72       TTV/Engelbrecht Tr. 158:1-159:5; Ex. 28, Email from M.
               Williams to A. Holsworth
      80       See infra ¶¶ 81-111




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Respectfully submitted, this 24th day of May, 2022.

  Allegra J. Lawrence                       /s/ Uzoma N. Nkwonta
  Georgia Bar No. 439797                    Marc E. Elias*
  Leslie J. Bryan                           Uzoma N. Nkwonta*
  Georgia Bar No. 091175                    Christina A. Ford*
  Maia Cogen                                Tina Meng*
  Georgia Bar No. 832438                    Marcos Mocine-McQueen*
  LAWRENCE & BUNDY LLC                      Joel J. Ramirez*
  1180 West Peachtree Street, Suite 1650    Jacob Shelly*
  Atlanta, GA 30309                         ELIAS LAW GROUP LLP
  Telephone: (404) 400-3350                 10 G Street NE, Suite 600
  Fax: (404) 609-2504                       Washington, D.C. 20002
  allegra.lawrence-                         Telephone: (202) 968-4490
  hardy@lawrencebundy.com                   melias@elias.law
  leslie.bryan@lawrencebundy.com            unkwonta@elias.law
  maia.cogen@lawrencebundy.com              cford@elias.law
                                            tmeng@elias.law
  Dara Lindenbaum                           mmcqueen@elias.law
  Georgia Bar No. 980780                    jramirez@elias.law
  SANDLER REIFF LAMB                        jshelly@elias.law
  ROSENSTEIN & BIRKENSTOCK,
  P.C.
  1090 Vermont Avenue, NW, Suite 750
  Washington, DC 20005                      Counsel for Plaintiffs
  Telephone: (202) 479-1111                 *Admitted pro hac vice
  Fax: 202-479-1115
  lindenbaum@sandlerreiff.com




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                         CERTIFICATE OF SERVICE


      I hereby certify that I have this day served a copy of the within and foregoing

Plaintiffs’ Notice of Errata with the Clerk of Court using the CM/ECF system,

which will automatically send-e-mail notification to all counsel of record.

This 24th day of May, 2022.

                                               /s/ Uzoma Nkwonta
                                               Uzoma Nkwonta
                                               Counsel for Plaintiffs




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